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                          UNITED STATES DISTRICT COURT
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                         EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,
                                                  CR. 2:99-433-05 WBS
12        Plaintiff and Respondent,
13        v.                                      ORDER
14   HOANG NGUYEN, also known as
     BAO HOANG LU,
15
          Defendant and Movant.
16                                   /
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18               On March 14, 2012, defendant Bao Hoang Lu filed a
19   motion to vacate, set aside, or correct his sentence pursuant to
20   28 U.S.C. § 2255.   The United States shall file its opposition to
21   defendant’s motion no later than May 21, 2012.        Defendant may
22   then file a reply no later than June 11, 2012.        The court will
23   then take the motion under submission.
24               IT IS SO ORDERED.
25   DATED:    March 22, 2012
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